Case 2:18-cv-01481-DDP-JEM Document 187 Filed 09/16/19 Page 1 of 6 Page ID #:12029



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        DROPBOX, INC.
   11
   12                       UNITED STATES DISTRICT COURT
   13                      CENTRAL DISTRICT OF CALIFORNIA
   14
   15
        IRONHAWK TECHNOLOGIES, INC.,               Case No. 2:18-cv-01481 DDP (JEMx)
   16
                         Plaintiff and Counter-    DROPBOX’S WITNESS LIST
   17                    Defendant,
   18                                              Trial Date: October 22, 2019
              v.                                   Pre-Trial Conference: October 7, 2019
   19                                              Hon. Dean D. Pregerson
        DROPBOX, INC.,
   20
   21                    Defendant and
                         Counter-Claimant.
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                                      DROPBOX’S WITNESS LIST
Case 2:18-cv-01481-DDP-JEM Document 187 Filed 09/16/19 Page 2 of 6 Page ID #:12030



    1                                DEFENDANT’S WITNESS LIST
    2         Pursuant to Federal Rule of Civil Procedure 26(a)(3)(A) and Local Rules 16-
    3   2.4 and 16.5, Defendant Dropbox Inc., (“Dropbox”) hereby submits the following
    4   list of witnesses that Dropbox expects to call at trial. Witnesses that Dropbox may
    5   call at trial are identified using an asterisk next to the name of the witness. Dropbox
    6   also reserves the right to call any witness disclosed by Plaintiff in its witness list.
    7
    8   Doyle, Patrick*
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   15   (310) 274-7100

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   19   (310) 274-7100

   20   Han, Nina
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                                          DROPBOX’S WITNESS LIST
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Case 2:18-cv-01481-DDP-JEM Document 187 Filed 09/16/19 Page 3 of 6 Page ID #:12031



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                                       DROPBOX’S WITNESS LIST
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Case 2:18-cv-01481-DDP-JEM Document 187 Filed 09/16/19 Page 4 of 6 Page ID #:12032



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                                      DROPBOX’S WITNESS LIST
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Case 2:18-cv-01481-DDP-JEM Document 187 Filed 09/16/19 Page 5 of 6 Page ID #:12033



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   19
   20   Dated: September 16, 2019            COVINGTON & BURLING LLP
   21
   22
                                             By: /s/ Clara J. Shin
   23                                             Clara J. Shin
   24                                                Attorneys for Defendant and
   25                                                Counter-Claimant
                                                     DROPBOX, INC.
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Case 2:18-cv-01481-DDP-JEM Document 187 Filed 09/16/19 Page 6 of 6 Page ID #:12034



    1                            CERTIFICATE OF SERVICE
    2         I hereby certify that, on September 16, 2019 I filed the foregoing Dropbox’s
    3   Witness List with the Court through the Court’s CM/ECF system. Pursuant to
    4   Local Rule 5-3.2, the “Notice of Electronic Filing” automatically generated by the
    5   CM/ECF system at the time of filing constitutes service on all attorneys who have
    6   appeared in this case.
    7
    8
    9                                         By: /s/ Clara J. Shin
   10                                              Clara J. Shin
   11                                                 Attorneys for Defendant and
                                                      Counter-Claimant
   12                                                 DROPBOX, INC.
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